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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO


SCIOTO WATER, INC.,
                                                      CASE NO. 1:20-CV-00817-TSB
               Plaintiff,
                                                      JUDGE TIMOTHY S. BLACK
             v.

CITY OF PORTSMOUTH,

               Defendant.


       CLAWBACK AND PRESUMPTIVELY PRIVILEGED PROTOCOL
            STIPULATION AND FRE 502(D) AND (E) ORDER


       Scioto Water, Inc. and the City of Portsmouth (collectively, the “Parties”) hereby stipulate

to protect certain privileged and otherwise protected documents and electronically stored

information (collectively, “document” or “documents”) against claims of waiver in the event they

are produced during this litigation whether pursuant to a Court Order, a parties’ discovery request

or informal production.

       The Parties may be required to produce large volumes of documents and, to comply with

discovery deadlines in the case, wish to complete discovery as expeditiously as possible, while

preserving and without waiving any evidentiary protections or privileges applicable to the

information contained in the documents produced, including as against third parties and other

Federal and State proceedings. Accordingly, the parties hereby stipulate to, and the Court hereby

Orders pursuant to Federal Rules of Civil Procedure 502(d) and (e), as follows:

       1.      The inadvertent production of any document by a party in this action shall be

without prejudice to any claim that such material is protected by any legally cognizable privilege or

evidentiary protection including, but not limited to the attorney-client privilege, or the work



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product doctrine, and no party shall be held to have waived any rights by such inadvertent

production.

        2.       If any document produced by another party is on its face subject to a legally

recognizable privilege or evidentiary protection, the receiving party shall:

        (a) refrain from reading the document any more closely than is necessary to ascertain that it

is privileged;

        (b) immediately notify the producing party in writing that it has discovered documents

believed to be privileged or protected;

        (c) specifically identify the documents by Bates number range or hash value range, and,

        (d) where possible, return, sequester, or destroy all copies of such documents, along with

any notes, abstracts or compilations of the content thereof, within five (5) days of discovery by the

receiving party. Where such documents cannot be destroyed or separated it shall not be reviewed,

disclosed, or otherwise used by the receiving party. Notwithstanding, the receiving party is under

no obligation to search or review the producing party’s documents to identify potentially privileged

or work product protected documents.

        3.       Upon written notice of an unintentional production by the producing party or oral

notice if notice is delivered on the record at a deposition, the receiving party must promptly return,

sequester or destroy the specified document and any hard copies the receiving party has and may

not use or disclose the information until the privilege claim has been resolved. The producing party

shall also provide an updated privilege log for such documents setting forth the author, recipient(s),

subject matter of the document, along with the basis for the claim of privilege or evidentiary

protection, as well as any portion of the document that does not contain privileged or protected

information. To the extent that the producing party insists on the return or destruction of electronic

copies, rather than disabling the documents from further use or otherwise rendering them


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inaccessible to the receiving party, the producing party shall bear the costs of the return or

destruction of such electronic copies.

       4.      To the extent that the information contained in a document subject to a claim has

already been used in or described in other documents generated or maintained by the receiving

party, then the receiving party will sequester such documents until the claim has been resolved. If

the receiving party disclosed the specified documents before being notified of its inadvertent

production, it must take reasonable steps to retrieve it. The producing party shall preserve the

specified documents until the claim is resolved.

       5.      The receiving party shall have five (5) days from receipt of notification of the

inadvertent production to determine in good faith whether to contest such claim and to notify the

producing party in writing of an objection to the claim of privilege and the grounds for that

objection.

       6.      The receiving party’s return, sequestering or destruction of such privileged or

protected documents as provided herein will not act as a waiver of the requesting party’s right to

move for the production of the returned, sequestered or destroyed documents on the grounds that

the documents are not in fact subject to a viable claim of privilege or protection. However, the

receiving party is prohibited and estopped from arguing that the production of the documents in

this matter acts as a waiver of an applicable privilege or evidentiary protection, that the disclosure

of the documents was not inadvertent, that the producing party did not take reasonable steps to

prevent the disclosure of the privileged documents or that the producing party failed to take

reasonable steps to rectify the error as set forth in Federal Rules of Civil Procedure 26(b)(5)(B).

The producing party need make no showing with respect to measures take to prevent the

inadvertent production of the documents in question in order to be entitled to their return.

       7.      Either party may submit the specified documents to the Court under seal for a


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determination of the claim and will provide the Court with the grounds for the asserted privilege or

protection. The receiving party may not use the documents for any purpose absent this Court’s

Order. Any party may request expedited treatment of any request for the Court's determination of

the claim.

       8.      Upon a determination by the Court that the specified documents are protected by the

applicable privilege or evidentiary protection, and if the specified documents have been

sequestered rather than returned or destroyed, the specified documents shall be returned or

destroyed. The Court may also order, the identification and/or review of documents that have been

identified as being potentially subject to a legally recognized claim by search terms or other means.

       9.      Upon a determination by the Court that the specified documents are not protected by

the applicable privilege, the producing party shall bear the costs of placing or restoring the

information into any programs or databases from which it was removed or destroyed and render

accessible any documents that were disabled or rendered inaccessible, unless otherwise ordered by

the Court.

 O’TOOLE, McLAUGHLIN, DOOLEY                          SCHROEDER, MAUNDRELL, BARBIERE &
 & PECORA CO., LPA                                    POWERS

 /s/ Matthew A, Dooley                                /s/ Scott A. Sollmann ________
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 Counsel for Plaintiff


       SO ORDERED:

    s/Timothy S. Black
_____________________________________
JUDGE TIMOTHY S. BLACK


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